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      Alejandro Odeh-Lara
 11
                              UNITED STATES DISTRICT COURT
 12                          CENTRAL DISTRICT OF CALIFORNIA
 13
                                                 Case No.
 14   ALEJANDRO ODEH-LARA,
               Plaintiff,
 15   v.                                         COMPLAINT AND DEMAND FOR
                                                 JURY TRIAL
 16   SYNCHRONY BANK,
              Defendant.                            1. TCPA, 47 U.S.C. § 227
 17                                                 2. RFDCPA, CAL. CIV. CODE § 1788
                                                    3. Invasion of Privacy - Intrusion
 18                                                    Upon Seclusion
 19
 20
 21
                            COMPLAINT AND DEMAND FOR JURY TRIAL
 22
 23          Plaintiff Alejandro Odeh-Lara (“Plaintiff”) through his attorneys, alleges the

 24   following against Defendant Synchrony Bank (“Defendant”).
 25                                       INTRODUCTION
 26
             1.     Count I of Plaintiff’s Complaint is based upon the Telephone Consumer
 27
 28   Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly
                                                        COMPLAINT AND DEMAND FOR JURY TRIAL

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  1   regulates the use of automated telephone equipment. Among other things, the TCPA
  2
      prohibits certain unsolicited marketing calls, restricts the use of automatic dialers or
  3
      prerecorded messages, and delegates rulemaking authority to the Federal Communications
  4
  5   Commission (“FCC”).

  6          2.     Count II of Plaintiff’s Complaint is based upon Rosenthal Fair Debt
  7
      Collection Practices Act (“RFDCPA”), Cal. Civ. Code § 1788, which prohibits debt
  8
      collectors from engaging in abusive, deceptive and unfair practices in connection with the
  9
 10   collection of consumer debts.

 11          3.     Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy -
 12
      Intrusion upon Seclusion, as derived from § 652B of the Restatement (Second) of Torts.
 13
      § 652B prohibits an intentional intrusion, “physically or otherwise, upon the solitude or
 14
 15   seclusion of another or his private affairs or concerns… that would be highly offensive to

 16   a reasonable person.”
 17
                                       JURISDICTION AND VENUE
 18
             4.     Jurisdiction of the Court arises under 28 U.S.C. § 1331 and 47 U.S.C. § 227.
 19
 20          5.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part

 21   of the events or omissions giving rise to the claim occurred in this District.
 22
             6.     Defendants transacts business in the state of California; thus personal
 23
      jurisdiction is established.
 24
 25                                                PARTIES

 26          7.     Plaintiff is a natural person residing in Redlands, San Bernardino County,
 27   California.
 28                                                           COMPLAINT AND DEMAND FOR JURY TRIAL

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  1          8.     Synchrony Bank is a federal savings bank engaged in the business of giving
  2
      loans and managing credit accounts with its principal place of business located at 170 West
  3
      Election Road, Suite 125, Draper, Utah 84020, Defendant can be served with process
  4
  5   through its designated agent C T Corporation System, 818 Seventh Street, Suite 930, Los

  6   Angeles, CA 90017.
  7
             9.     The debt(s) that Defendant is attempting to collect on is an alleged obligation
  8
      of a consumer to pay money arising out of a transaction in which the money, property,
  9
 10   insurance or services which are the subject of the transaction are primarily for personal,

 11   family, or household purposes.
 12
             10.    During the course of its attempts to collect debts, Defendant sends to debtors
 13
      bills, statements, and/or other correspondence, via the mail and/or electronic mail, and
 14
 15   initiates contact with alleged debtors via various means of telecommunication, such as by

 16   telephone and facsimile.
 17
             11.    Defendant acted through their agents, employees, officers, members,
 18
      directors,   heirs,   successors,   assigns,    principals,   trustees,   sureties,   subrogees,
 19
 20   representatives, and insurers.

 21                                       FACTUAL ALLEGATIONS
 22
             12.    Upon Information and belief, Plaintiff has never had an account with
 23
      Defendant.
 24
 25          13.    Plaintiff did not provide Defendant with his cellular telephone number and

 26   therefore Defendant did not have consent to call Plaintiff.
 27
 28                                                            COMPLAINT AND DEMAND FOR JURY TRIAL

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  1            14.   Defendant attempted to collect on a consumer debt from Plaintiff, which
  2
      Plaintiff did not owe.
  3
               15.   In or around November 2018, Synchrony Bank began placing calls to
  4
  5   Plaintiff’s cellular phone number (815) 600-xxxx (a Chicago phone number), in an attempt

  6   to collect an alleged debt(s).
  7
               16.   The calls originated from: (972) 512-3472 and (540) 840-1746.
  8
               17.   Upon information and belief, those phone numbers are owned or operated by
  9
 10   Defendant.

 11            18.   On or about November 1, 2018, in an attempt to collect an alleged debt,
 12
      Defendant called Plaintiff at (815) 600-xxxx and asked to speak to an individual who’s
 13
      name Plaintiff did not recognize.
 14
 15            19.   During the phone call, Plaintiff explained to Defendant that he was not the

 16   person with whom Defendant wanted to speak. Plaintiff further explained to Defendant
 17
      that he did not have an account with Defendant, and he had never had such an account.
 18
               20.   Despite never having given Defendant consent to contact him on his cell
 19
 20   phone, Plaintiff unequivocally revoked consent to be called any further on his cellular

 21   phone.
 22
               21.   After Plaintiff had revoked his consent to be called, Defendant began calling
 23
      Plaintiff incessantly. Between November 1, 2018 and February 28, 2019, Defendant called
 24
 25   Plaintiff approximately 450 times.

 26            22.   In one month, between December 31, 2018 and January 31, 2019, Defendant
 27   called Plaintiff approximately 75 times.
 28                                                          COMPLAINT AND DEMAND FOR JURY TRIAL

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  1          23.     Defendant called Plaintiff multiple times a day. For example, Defendant
  2
      called Plaintiff five times on January 21, 23, 28, and 30, in 2019, and twelve times on
  3
      December 31, 2018.
  4
  5          24.     Defendant called Plaintiff as early as 6:41 a.m. (January 19, 2019).

  6          25.     At the beginning of each call there was a brief pause before Defendant’s
  7
      representative began speaking, indicating the use of an Automatic Telephone Dialing
  8
      System (“ADTS”).
  9
 10          26.     The conduct was not only willful but was done with the intention causing

 11   Plaintiff such distress, so as to induce him to pay the debt, which he did not owe.
 12
             27.     Further, the conduct was done with such frequency and intensity so as to
 13
      harass Plaintiff.
 14
 15          28.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages

 16   including but not limited to, embarrassment, shame, worry, grief, anguish, humiliation,
 17
      and physical and mental pain.
 18
             29.     Further, Defendant’s calls often occurred while Plaintiff was busy with his
 19
 20   daily activities and disrupted his day. Particularly the calls made during the work day

 21   required Plaintiff to drop the work he was doing in order to check his cell phone.
 22
             30.     The approximately 450 phone calls placed by Defendant to Plaintiff’s
 23
      cellular phone caused Plaintiff extreme emotional distress and aggravation.
 24
 25
 26
 27
 28                                                          COMPLAINT AND DEMAND FOR JURY TRIAL

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  1                                                COUNT I
  2                                 (Violations the TCPA, 47 U.S.C. § 227)

  3          31.      Plaintiff incorporates by reference all of the above paragraphs of this
  4   Complaint as though fully stated herein.
  5
             32.      Defendant violated the TCPA. Defendant’s violations include, but are not
  6
      limited to the following:
  7
  8                a. Within four years prior to the filing of this action, on multiple occasions,
  9                   Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in
 10
                      pertinent part, “[i]t shall be unlawful for any person within the United States
 11
                      . . . to make any call (other than a call made for emergency purposes or made
 12
 13                   with the prior express consent of the called party) using any automatic

 14                   telephone dialing system or an artificial or prerecorded voice — to any
 15
                      telephone number assigned to a . . . cellular telephone service . . . or any
 16
                      service for which the called party is charged for the call.
 17
 18                b. Within four years prior to the filing of this action, on multiple occasions

 19                   Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s
 20
                      cellular telephone using an artificial prerecorded voice or an automatic
 21
                      telephone dialing system and as such, Defendant knowingly and/or willfully
 22
 23                   violated the TCPA.

 24      33. Defendant’s calls constitute calls that are not for emergency purposes as defined by
 25
      47 U.S.C. § 227(b)(1)(A).
 26
 27
 28                                                            COMPLAINT AND DEMAND FOR JURY TRIAL

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  1      34. Defendant’s calls are placed to a telephone number assigned to a cellular telephone
  2
      service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
  3
      227(b)(1).
  4
  5      35. Under the TCPA and pursuant to the FCCs January 2008 Declaratory Ruling, the

  6   burden is on the Defendant to demonstrate that the Plaintiff provided express consent within
  7
      the meaning of the statute because it is the best entity to determine how numbers were
  8
      attained.
  9
 10      36. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiffs is entitled to an

 11   award of five hundred dollars ($500.00) in statutory damages, for each and every violation,
 12
      pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant knowingly and/or
 13
      willfully violated the TCPA, Plaintiffs are entitled to an award of one thousand five hundred
 14
 15   dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and

 16   47 U.S.C. § 227(b)(3)(C).
 17
                                             COUNT III
 18                 Violation of the Rosenthal Fair Debt Collection Practices Act,
                                        Cal. Civ. Code § 1788
 19
 20      37. Plaintiff incorporates herein by reference all of the above paragraphs of this

 21   Complaint as though fully set forth herein at length.
 22      38. Defendant violated the RFDCPA. Defendant violated Cal. Civ. Code § 1788.17 by
 23
      collecting or attempting to collect a consumer debt without complying with the provisions
 24
 25   of 15 U.S.C. §§ 1692b-1692j.

 26                a. Defendants violated Cal. Civ. Code § 1788.17 by violating 15 U.S.C. §
 27                   1692d by engaging in conduct, the natural consequence of which is to
 28                                                           COMPLAINT AND DEMAND FOR JURY TRIAL

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  1                  harass, oppress or abuse any person in connection with the collection of the
  2
                     alleged debt; and
  3
                 b. Defendant violated Cal. Civ. Code § 1788.17 by violating 15 U.S.C. § 1692f
  4
  5                  by using unfair or unconscionable means in connection with the collection

  6                  of an alleged debt.
  7
         39. Defendant Synchrony Bank’s acts, as described above, were done intentionally
  8
      with the purpose of coercing Plaintiff to pay the alleged debt, which he did not owe.
  9
 10      40. As a result of the foregoing violations of the RFDCPA, Defendant is liable to

 11   Plaintiff for actual damages, statutory damages, and attorneys’ fees and costs.
 12
                                              COUNT III
 13                            Defendant’s Invasion of Privacy of Plaintiff
                                     (Intrusion upon Seclusion)
 14
 15      41. Plaintiff incorporates herein by reference all of the above paragraphs of this

 16   complaint as though fully set forth herein at length.
 17      42. Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon seclusion
 18
      as “[o]ne who intentionally intrudes… upon the solitude or seclusion of another, or his
 19
 20   private affairs or concerns, is subject to liability to the other for invasion of privacy, if the

 21   intrusion would be highly offensive to a reasonable person”.
 22      43. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are not
 23
      limited to, the following:
 24
 25              a. Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s

 26                  solitude and seclusion by engaging in harassing phone calls in an attempt to
 27                  collect on an alleged debt, which Plaintiff did not owe, despite Plaintiff
 28                                                             COMPLAINT AND DEMAND FOR JURY TRIAL

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  1                having never given consent to be contacted on his cellular phone and despite
  2
                   Plaintiff having unequivocally revoked consent to be called.
  3
                b. The number and frequency of the telephone calls to Plaintiff by Defendant
  4
  5                constitute an intrusion on Plaintiff’s privacy and solitude.

  6             c. Defendant’s conduct would be highly offensive to a reasonable person as
  7
                   Plaintiff received calls that often interrupted Plaintiff’s work and sleep
  8
                   schedule.
  9
 10             d. Defendant’s acts, as described above, were done intentionally with the

 11                purpose of coercing Plaintiff to pay the alleged debt, which he did not owe.
 12
         44. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable to
 13
      Plaintiff for actual damages. If the Court finds that the conduct is found to be egregious,
 14
 15   Plaintiff may recover punitive damages.

 16                                   PRAYER FOR RELIEF
 17
            WHEREFORE, Plaintiff Alejandro Odeh-Lara respectfully requests that judgment
 18
      be entered against Defendant for the following:
 19
 20             A. Declaratory judgment that Defendant violated the TCPA;

 21             B. Declaratory judgment that Defendant violated the RFDCPA;
 22
                C. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
 23
                   227(b)(3)(C);
 24
 25             D. Statutory damages of $1,000.00 pursuant to the RFDCPA, Cal. Civ. Code

 26                §1788.30(b);
 27             E. Actual damages pursuant to RFDCPA, Cal. Civ. Code §1788.30(b);
 28                                                         COMPLAINT AND DEMAND FOR JURY TRIAL

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   1           F. Punitive damages for intrusion upon Plaintiff’s seclusion or under Cal. Civ.
   2
                   Code §3294;
   3
               G. Costs and reasonable attorneys’ fees pursuant to the RFDCPA, Cal. Civ.
   4
   5               Code §1788.30(c);

   6           H. Awarding Plaintiff any pre-judgment and post-judgment interest as may be
   7
                   allowed under the law; and
   8
               I. Any other relief that this Court deems appropriate.
   9
  10                               DEMAND FOR JURY TRIAL

  11        Please take notice that Plaintiff demands a trial by jury in this action.
  12
  13
  14
                                                               RESPECTFULLY SUBMITTED,
  15
  16
            Dated: April 1, 2019                               PRICE LAW GROUP, APC
  17
  18                                                           /s/ Brian J. Brazier
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  23
  24
  25
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  28                                                         COMPLAINT AND DEMAND FOR JURY TRIAL

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